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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NEW YORK



 BLOCK, INC.,
                                        CASE NO.: 23-cv-5377
                  Plaintiff,
            v.
                                        COMPLAINT
 VISA INC., VISA U.S.A. INC., VISA
 INTERNATIONAL SERVICE                  Jury Trial Demanded
 ASSOCIATION, MASTERCARD
 INCORPORATED, and MASTERCARD
 INTERNATIONAL INCORPORATED

                  Defendants.
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       Block, Inc. brings this action against Visa U.S.A. Inc., Visa International Service

Association, Visa Inc. (collectively, “Visa”), Mastercard Incorporated, and Mastercard

International Incorporated (together, “Mastercard”) as follows:

                                  NATURE OF THE ACTION

       1.      Block, Inc. is made up of a number of different business units, one of which is

Square (“Square”). Square is a cohesive commerce ecosystem that helps Sellers (merchants who

utilize Square to accept payment cards, hereafter “Sellers”) start, run, and grow their businesses,

including by enabling Sellers to accept card payments, providing reporting and analytics, and

facilitating next-day settlement. Square’s point-of-sale software and other business services help

Sellers manage inventory, locations, and employees; access financial services; engage buyers;

build a website or online store; and grow sales. As a Payment Facilitator, Square processes card

transactions for millions of Sellers. As detailed herein, Square directly pays various fees,

including Interchange Fees, on every card transaction it processes for its merchant clients.

       2.      Visa and Mastercard have each fixed the Interchange Fees and other fees they

charge in connection with the use of credit or debit cards at artificially high levels. Defendants

have also engaged in anticompetitive practices that effectively require Square to pay these fixed

and inflated fees — principally, the Honor All Cards rules described below.

       3.      Based on the anticompetitive conduct challenged herein, Square seeks, inter alia,

damages and injunctive relief, as appropriate, under federal antitrust law.

                                JURISDICTION AND VENUE

       4.      This Complaint is filed under Section 16 of the Clayton Act, 15 U.S.C. § 26, to

prevent and/or restrain violations of Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2,

and for damages under Section 4 of the Clayton Act, 15 U.S.C. § 15. The Court has jurisdiction

over the federal antitrust law claims alleged herein under 28 U.S.C. §§ 1331 and 1337.


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        5.      This Court has personal jurisdiction over Defendants because, among other

things, Defendants: (a) transact business throughout the United States, including in this District;

(b) have substantial contacts with the United States, including in this District; and/or (c) are

engaged in an illegal anticompetitive scheme that is directed at and has the intended effect of

causing injury to persons residing in, located in, or doing business throughout the United States,

including in this District.

        6.      Venue in this District is proper under 28 U.S.C. § 1391 and Section 12 of the

Clayton Act, 15 U.S.C. § 22. Defendants transact business and are found in this District.

        7.      Member banks of Visa and Mastercard located in this District issue Defendants’

credit and debit cards and/or acquire retail merchant transactions for Visa and Mastercard credit,

debit, and store-value cards. The interstate trade and commerce involved and affected by the

alleged violations of the antitrust laws was and is carried on in part within this District. The acts

complained of have had substantial anticompetitive effects in this District.

                                          DEFINITIONS

        8.      “Acquirer” or “Acquiring Bank” means a bank or other financial institution that

has been authorized by a General Purpose Payment Card Network to enter into agreements with

Payment Facilitators and merchants that enable those entities to accept General Purpose Payment

Cards for the purchase of goods and services.

        9.      “Damages Period” means the time period over which Square is entitled to seek a

damages award based on the anticompetitive conduct challenged herein, which is the period

beginning with Square’s formation to the present day and on an ongoing basis.

        10.     “General Purpose Credit Card” means a plastic card or other physical form factor,

such as a key fob, provided by an Issuer that allows cardholders to pay for goods and services at




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a large number of diverse merchants by accessing a line of credit extended to the cardholder by

the Issuer.

        11.    “General Purpose Debit Card” means a plastic card or other physical form factor,

such as a key fob, provided by an Issuer that allows cardholders to pay for goods and services at

a large number of diverse merchants by accessing an asset account, typically the cardholder’s

demand deposit account (“DDA”), at a bank or other financial institution.

        12.    “General Purpose Payment Card” means a General Purpose Credit Card or a

General Purpose Debit Card.

        13.    “General Purpose Payment Card Network” means an electronic payment system

used to accept, transmit, or process transactions made by General Purpose Payment Cards for

money, goods, or services, and to transfer information and funds among Issuers, Acquirers,

Payment Facilitators, merchants, and users of General Purpose Payment Cards. Both Visa and

Mastercard operate General Purpose Payment Card Networks.

        14.    “Honor All Cards” means the rules of Visa and Mastercard that require any

Payment Facilitator or merchant that accepts Visa- or Mastercard-branded General Purpose

Credit Cards to accept all such General Purpose Credit Cards that carry the brand of that

network, and the rules of Visa and Mastercard that require any Payment Facilitator or merchant

that accepts Visa- or Mastercard-branded General Purpose Debit Cards to accept all such

General Purpose Debit Cards that carry the brand of the respective network.

        15.    “Interchange Fees” are fees fixed by Visa or Mastercard and their member banks

that are paid to Issuers by Payment Facilitators or merchants (in the absence of a Payment

Facilitator) in conjunction with transactions in which Visa or Mastercard General Purpose

Payment Cards are used as a means of payment for purchases of goods and services. When one




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of Square’s Sellers uses Square’s technology to process card transactions, Square pays these

Interchange Fees directly to the Issuer.

        16.     “Issuer” or “Issuing Bank” means a bank or other financial institution that issues

General Purpose Payment Cards to consumers to pay for goods and services. Issuers authorized

by the Visa and Mastercard General Purpose Payment Card Networks to issue Visa- and/or

Mastercard-branded General Purpose Payment Cards are members of those networks.

        17.     “Merchant of Record” means the entity in the payment processing structure that is

authorized and held liable for the processing and settlement of transactions and accordingly

enters into contractual arrangements and negotiates terms, including pricing, with the Acquirers

and the relevant card networks. The Merchant of Record is contractually responsible for settling

the costs incurred in the payment process. Square serves as the Merchant of Record for all

transactions it facilitates for its Sellers.

        18.     “Payment Facilitator” (sometimes alternatively referred to as a “Payment Services

Provider”) means an entity, such as Square, that holds the direct relationship with both the

merchant and the corresponding Acquiring Bank and facilitates all aspects of a card transaction

on behalf of the merchant. Square serves as the Payment Facilitator or Payment Services

Provider for all transactions it facilitates for its Sellers.

        19.     “PIN Debit Card” means a General Purpose Debit Card with which the cardholder

authorizes a withdrawal from his or her bank account by presenting his or her card at the point-

of-sale and entering a personal identification number (“PIN”) as the verification method.

        20.     “Premium Payment Card” means a General Purpose Credit Card that carries a

higher Interchange Fee than standard General Purpose Credit Cards. The “Visa Signature




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Preferred Card” product and “World Mastercard Card” product are examples of Premium

Payment Cards.

       21.     “Signature Debit Card” means a General Purpose Debit Card with which a

cardholder authorizes a withdrawal from their bank account, usually by presenting the card at the

point-of-sale and signing a receipt or point-of-sale terminal.

                                            PARTIES

       A.      Plaintiff

       22.     Block, Inc., formerly known as Square, Inc., is a Delaware corporation. Block

offers products and services under the name Square that help Sellers start, run, and grow their

businesses, including by enabling Sellers to accept card payments. Square accepts Visa and

Mastercard credit and debit cards for payment at its millions of Sellers through a variety of

methods, including, notably, its card processing services. Square offers a number of services

including financial services, marketing services, and payment and point of sale technology.

Square earns the majority of its revenue through transaction-based fees derived from these card-

related services.

       23.     During the Damages Period, Square has accepted Visa and Mastercard credit and

debit cards on behalf of millions of Sellers, the majority of which are small and medium-sized

businesses who use Square to accept cards through Square’s innovative technology and take

advantage of Square’s suite of products. The convenient, streamlined, affordable, and secure

payment facilitation services that Square offers its Sellers stands in sharp contrast to the opaque,

cumbersome, expensive payment processing services traditionally offered by the card networks

and their member banks.

       24.     On behalf of the following entities, all of which Block acquired either by merger

or asset purchase agreement, Block also asserts the legal claims as enumerated herein, to the


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fullest extent permitted by law: Afterpay Limited; Bookfresh, LLC; Caviar, Inc.; Eloquent Labs

Incorporated; Entrees on Trays, Inc.; Fastbite, Inc.; GoParrot, Inc.; Kinetic Farm,

Inc. d/b/a OrderAhead (held at Looper Holdings, LLC); Mainline Delivery.com; Stitch

Labs, Inc.; Third Party Technologies Inc.; Third Party Trade, LLC; Weebly, Inc.; and Your

Majesty Co.

       B.      Defendants

       25.     Prior to the Visa initial public offering (“IPO”), Visa International and Visa

U.S.A. were each bank associations that were governed by a board of directors comprised of

bank executives selected from their member banks. Visa International also had regional boards

of directors for each of its geographic regions.

       26.     In 2007 and 2008, Visa U.S.A. and Visa International, in addition to other Visa

entities not named as Defendants, conducted a number of corporate restructurings to combine

several previously independent corporate entities into Defendant Visa Inc. On March 19, 2008,

Visa Inc. conducted an IPO through which it offered ownership shares to the general public and

also issued ownership shares to its member banks. As a result, Visa Inc. became and operates

today as a publicly-traded Delaware corporation, with its principal place of business in Foster

City, California. Upon the restructuring, Visa U.S.A. and Visa International became wholly-

owned subsidiaries of Visa Inc., and they continue to operate as such today. Visa Inc., Visa

U.S.A., and Visa International are collectively referred to herein as “Visa.”

       27.     Visa operates General Purpose Payment Card Networks, and did so throughout

the Damages Period.

       28.     Prior to the Mastercard IPO, Mastercard Incorporated and Mastercard

International were each bank associations that were governed by a global board of directors, as




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well as regional boards of directors for each of their geographical regions that were comprised of

bank executives selected from their member banks.

       29.     On May 25, 2006, Mastercard Incorporated and Mastercard International

conducted an IPO and entered into several related agreements to offer ownership shares to the

general public and to issue ownership shares to Mastercard’s member banks. As a result,

Mastercard Incorporated became and operates today as a publicly-traded Delaware corporation

with its principal place of business in Purchase, New York. Upon the restructuring and

continuing to this day, Mastercard International has remained Mastercard Incorporated’s

principal operating subsidiary with its principal place of business also in Purchase, New York,

and doing business as Mastercard Worldwide. Mastercard Incorporated and Mastercard

International (and Mastercard Worldwide) are collectively referred to herein as “Mastercard.”

       30.     Mastercard operates General Purpose Payment Card Networks and did so

throughout the Damages Period.

                                     CO-CONSPIRATORS

       31.     Various persons and entities participated as co-conspirators in the violations

alleged herein and have performed acts in furtherance of the conspiracies. The co-conspirators

include, but are not limited to, the following: (a) Issuers that have issued Visa and Mastercard

payment cards and have agreed to inflate, set, and enforce, through anticompetitive rules and

restraints, Visa and Mastercard Interchange Fees; (b) Acquirers that acquire Visa and Mastercard

transactions from Square and who agreed to and have imposed the anticompetitive rules and

restraints on Square; and (c) banks that have or had membership on Visa’s or Mastercard’s board

of directors and, as described above, specifically adopted and agreed to impose the challenged

rules and restraints upon Square, its Sellers, and other Payment Facilitators.




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                                  FACTUAL ALLEGATIONS

        A.     Square’s Payment Services Platform

               1.      Payment processing with Square

        32.    Square was established to solve a persistent inefficiency: in order to accept card

payment for goods or services, a merchant had to overcome significant technological, financial,

and logistical barriers. Any merchant interested in accepting any payment cards was presented

with hundreds of pages of complex contractual documents, had to purchase a dedicated multi-

thousand-dollar card processing terminal, and was subject to a highly opaque and onerous fee

structure.

        33.    To address this problem, Square developed small, convenient, inexpensive, secure

devices and associated software that allowed anyone to accept card payments with their existing

smartphone. Over time, Square has continually iterated on and further developed other hardware

and software that allows Sellers to stay current with the latest technological innovations in

payment processing and payment card security.

        34.    In relevant part, Square’s card transaction service operates as follows: When a

consumer is ready to make a purchase with a payment card from a Square Seller, the Seller

initiates the transaction using Square’s software. As a Payment Facilitator and the Merchant of

Record, Square then passes the transaction information to the Acquirer.

        35.    Next, the Acquirer routes the transaction to the relevant card network affiliated

with the consumer’s card (e.g., Visa, Mastercard, American Express, etc.). Square pays a variety

of card network fees associated with these networks, including assessments pegged to the

transaction amount. The card network then routes the transaction to the Issuer, which authorizes

or declines the consumer’s transaction. The Issuer communicates through the card network to

the Acquirer and Square to inform the Seller that the transaction has been authorized or declined.


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        36.     The Issuer then deducts an Interchange Fee fixed by Visa or Mastercard (as both a

 percentage of the amount of the transaction and a fixed fee per transaction) from the funds owed

 to Square before disbursing the remaining funds to Square’s Acquiring Bank through the card

 network. The Interchange Fee is deducted before the funds are transmitted to Square, meaning

 that Square is the party that directly pays the Interchange Fee to the Issuer. This Interchange Fee

 varies based on the consumer’s card type, the merchant category code, the transaction type, and

 the transaction size. Any applicable transaction-level card network assessment fees are also

 assessed to Square.

        37.     Finally, Square remits the funds to the Seller, minus the fees charged by Square to

 its Sellers for payment services. Under Square’s transaction process, Square serves as the

 Payment Facilitator and Merchant of Record, acting as the touch point for the Seller to the rest of

 the payment chain. Square Sellers do not pay the Interchange Fees fixed by Visa and Mastercard

 to anyone. They pay instead the fees set by Square for its payment services.

        38.     Square is the direct payor of the Interchange Fees at issue, and the direct

 purchaser of card acceptance services from Visa and Mastercard. Square is the entity that

 directly contracts with Visa and Mastercard in order to facilitate card transactions with Visa and

 Mastercard for its millions of Sellers. Consistent with Square’s status as the Payment Facilitator

 and Merchant of Record, Square’s Sellers do not have their own merchant identification

 numbers, or “MIDs” (or acquiring merchant identification numbers). Square’s Sellers’

 transactions are, instead, processed under Square’s MIDs.

        39.     The Acquirers for the Visa and Mastercard transactions for which Square is a

 Payment Facilitator and Merchant of Record are Chase Paymentech and Wells Fargo Merchant

 Services (“WFMS”). Square’s contracts with Chase Paymentech and WFMS expressly provide




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 that Square is and stands in the shoes of the typical “merchant” for all purposes for all

 transactions it facilitates.

         40.     Square’s contractual relationship with these two Acquiring Banks provide that

 Square is responsible for payment of Interchange Fees for the transactions it facilitates for its

 Sellers. Square’s agreements with these two Acquirers specify that Square is responsible for

 paying the relevant Interchange Fees regardless of whether a Seller pays Square for its payment

 processing services.

         41.     Square’s agreements with its Sellers also provide that Square is the Merchant of

 Record and that Square is the entity in the payment structure that has the relevant relationship

 with Visa and Mastercard. In its role as a Payment Facilitator and Merchant of Record, Square is

 responsible for paying Interchange Fees on each transaction, and assumes financial responsibility

 for chargebacks and fees for network rule violations. The designation of Square transactions by

 the Visa and Mastercard networks confirms this relationship, in that all of Square Sellers’

 transactions are processed under Square’s MIDs.

         42.     Visa’s rules confirm that Square stands in the shoes of the Sellers whose

 transactions it facilitates. Visa’s current (April 15, 2023) Rule 5.3.1.1, provides, inter alia, that

 any Acquirer must include in its agreement with a Payment Facilitator, such as Square, that the

 Payment Facilitator “[i]s responsible and financially liable for each Transaction processed on

 behalf of the Sponsored Merchant, or for any disputed Transaction or credit.”

                 2.       The impact of Square’s innovations

         43.     Square’s innovative, simplified, secure approach to payment processing provides

 wide-ranging benefits across the economy. Square’s products benefit businesses in that they

 enable merchants to accept more types of payment, benefit consumers in that consumers have




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 more choice in how to pay for goods and services, and also benefit the payment card networks

 and their member banks as a result of broader merchant acceptance and fees on every card

 transaction Square facilitated.

        44.     In bringing card payment to millions of Sellers, Square has provided Visa and

 Mastercard with the Interchange Fees associated with processing payments at what had

 previously been largely cash-only businesses.

        B.      Visa and Mastercard

        45.     Visa and Mastercard have used a series of agreements and practices to fix prices,

 to avoid competition, and protect their market power.

        46.     A key pillar of these agreements and practices are Visa’s and Mastercard’s Honor

 All Cards rules. Pursuant to these rules, each network’s member/owner banks (including every

 one of the networks’ Issuers and Acquirers) have agreed that any merchant that accepts any one

 bank’s General Purpose Credit (or Debit) Cards issued over that network must accept all other

 banks’ General Purpose Credit (or Debit) Cards that carry the brand of that network. These “all

 or nothing” rules constitute agreements among the banks not to compete for merchants’

 acceptance of their General Purpose Credit (or Debit) Cards. In addition, those same banks have

 agreed to fix prices via “default” Interchange Fee rules, whereby fixed Interchange Fees apply to

 every transaction for which the Issuer and Acquirer or merchant have not individually negotiated

 fees (which rarely, if ever, occurs).

        47.     Visa and Mastercard themselves are the enterprises by which competing banks

 implement and effectuate their agreements not to compete and agreements to fix prices. These

 enterprises rely on rules — such as the Honor All Cards and default Interchange Fee rules — that

 bind all Visa and Mastercard Issuers and Acquirers. Following the Visa and Mastercard IPOs,




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 the Visa and Mastercard member banks have continued to conspire to fix inflated fees and

 impose anticompetitive restraints, collectively agreeing as members of both networks to various

 fees and rules. All Issuer members of the Visa and Mastercard networks receive

 supracompetitive Interchange Fees and continue to collect these inflated fees.

        48.     Although Visa and Mastercard initially focused their conduct on General Purpose

 Credit Cards, once they achieved substantial market power in the General Purpose Credit Card

 transactions market, they leveraged it to achieve substantial market power in the General Purpose

 Debit Card transactions market.

        49.     Defendants set both Issuers’ General Purpose Credit Card and Debit Card

 Interchange Fees at supracompetitive levels — fees directly paid to Issuers by, among others,

 Square.

                1.     Visa and Mastercard facilitated horizontal agreements of their
                       member banks

        50.     Before their IPOs, Visa and Mastercard were associations of competitor banks.

 Pre-IPO, these banks exercised complete control over every aspect of Visa’s and Mastercard’s

 business. This control was used to implement the member banks’ agreements (through the

 Honor All Cards rules) not to compete for merchant acceptance of General Purpose Payment

 Cards, and the associated agreements (through the default Interchange Rules) to fix the prices of

 Interchange Fees for Visa and Mastercard General Purpose Payment Card transactions.

        51.     The agreements broadened as more banks joined Visa and Mastercard and agreed

 to abide by agreements not to compete and to fix prices. The agreements also broadened during

 that time period when the banks added new high-Interchange Fee products — such as the Visa

 Signature and Signature Preferred Cards and the World and World Elite Mastercard Cards — to

 the universe of Visa and Mastercard products that were subject to the same conspiracies.



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        52.     Like those restrictive provisions to which the member banks agreed in their

 capacities as board members and/or owners of Visa and Mastercard, the anticompetitive conduct

 by Visa and Mastercard establishing the agreements not to compete and price-fixing schemes

 were the products of horizontal agreements among competing Issuers.

                2.     The Honor All Cards rules constitute horizontal agreements not to
                       compete on price

        53.     In order to eliminate any incentive for Issuers to compete for merchant acceptance

 based on the price of interchange, as they would have done in a competitive market, the member

 banks on Visa’s and Mastercard’s governing boards of directors approved the Honor All Cards

 rules. Visa’s and Mastercard’s policies require that their Issuers and Acquirers agree to abide by

 each of the networks’ rules (including the HAC Rules), and that the rules will be enforced upon

 merchants. The rules require Square — as Merchant of Record — to accept all of a network’s

 Issuers’ General Purpose Credit (or all Debit) Cards bearing the network’s brand if Square wants

 to accept any single Issuer’s General Purpose Credit (or Debit) Cards bearing the network’s

 brand, regardless of the Issuer. See, e.g., Visa Rule 1.5.4.2. Visa Core Rules and Visa Product

 and Service Rules (April 15, 2023); Mastercard Rule 5.11.1, Mastercard Rules (Dec. 13, 2022).

 These rules also prohibit Square from steering consumers toward less expensive General Purpose

 Payment Cards.

        54.     Under these “all or nothing” rules, Issuers need not worry about losing business to

 a lower-cost competitor because all cards issued by every Issuer must be accepted at the default

 Interchange Fee rates. Thus, if Square accepts a cheaper Visa or Mastercard standard General

 Purpose Credit Cards, for which it would pay substantially lower (but still supracompetitive)

 Interchange Fee, it must also accept a Visa Signature Preferred Card or World Elite Mastercard

 transaction, which bear higher Interchange Fees.



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        55.     But for the Honor All Cards rules, it would have been in the economic interest of

 an individual, profit-maximizing Issuers to lower the price it charged to compete for Square’s

 business against other banks issuing similar General Purpose Payment Cards. These “all or

 nothing” rules, however, eliminated the incentives to engage in such competition and to lower

 prices. With the Honor All Cards rules in place, it does not make economic sense for any Issuer

 to compete on price because merchants are forced to accept that Issuer’s cards even though they

 are being charged inflated prices.

        56.     As a result of the Honor All Cards rules, Square is unable to have Issuers compete

 for its business by offering more competitive Interchange Fees.

        57.     The Honor All Cards rules are not necessary for a General Purpose Payment Card

 Network to function. Moreover, even if the Honor All Cards rules have some colorable

 rationale, their objectives could be realized through less restrictive means.

                3.      The Interchange Fee rules are unlawful horizontal agreements on
                        price

        58.     Defendants fix the prices of Interchange Fees. Both Visa and Mastercard then

 require that the fixed Interchange Fee apply to every transaction for which the Issuer and

 Acquirer has not entered into a separate, individually-negotiated agreement regarding fees (i.e.,

 bilateral agreement). See, e.g., Visa Rule 1.9.1.2. Visa Core Rules and Visa Product and Service

 Rules (April 15, 2023); Mastercard Rule 8.3, Mastercard Rules (Dec. 13, 2022). Visa’s and

 Mastercard’s policies further required that their Issuers and Acquirers agree to abide by each of

 the networks’ rules (including the “default” Interchange Rules), and that the rules will be

 enforced on merchants.

        59.     While competition for merchant acceptance would have motivated rival Issuers to

 set lower fees than the “default” Interchange Fees fixed by Visa and Mastercard, they have not



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 done so because the Honor All Cards rules, working in tandem with the default Interchange Fee

 rules, eliminated any incentive for Issuers to charge fees below the high levels being fixed by the

 conspiracies.

        60.      All Issuers use the same Interchange Fee schedules for any given Visa and

 Mastercard payment transaction but, within each of those schedules, there is variability in the

 fees charged for various transactions. For example, a schedule of Interchange Fees set different

 fee levels for different card types (e.g., standard General Purpose Credit Cards versus Premium

 Payment Cards). This schedule of Interchange Fees also imposed different fee levels by

 merchant category, with card-not-present merchants paying substantially higher rates and with

 supermarkets and warehouse clubs paying comparatively low rates. This collusion constitutes

 price fixing.

                 4.     Defendants have used their price-fixing schemes to establish,
                        maintain, and enhance their long-held market power

        61.      Using price fixing to induce Issuers to join their associations, Visa and

 Mastercard acquired substantial market power in the General Purpose Payment Card transactions

 markets, as courts have repeatedly held.

        62.      That Visa and Mastercard possess substantial market power is supported by direct

 evidence, including the following:

                        (a)     Ability to raise Interchange Fees: Visa

        63.      Visa’s substantial market power has existed and increased for the last several

 decades. By the 1990s, Visa General Purpose Credit Cards became the primary or only such

 cards for tens of millions of consumers in the United States. Accepting Visa General Purpose

 Credit Cards became a competitive necessity for the vast majority of merchants.




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        64.     In the General Purpose Credit Card transactions market, Visa raised General

 Purpose Credit Card Interchange Fees without merchants ceasing to accept Visa’s General

 Purpose Credit Cards. Visa permitted Issuers to reclassify standard Visa General Purpose Credit

 Cards as Premium Payment Cards. Issuers responded by converting large portions of their

 outstanding cards to Signature and World cards with higher Interchange Fees, and the overall

 Interchange Fees that merchants paid for transactions increased dramatically.

        65.     Visa continues to possess by far the highest market shares and the highest number

 of General Purpose Credit Cards in circulation. Accordingly, most merchants must accept Visa

 General Purpose Credit Cards to remain viable.

        66.     In the mid-2000s, Visa raised its Signature Debit Card Interchange Fees, and then

 exercised its monopoly power to increase PIN Debit Card Interchange Fees as well.

 Notwithstanding these price increases, Visa’s debit volumes have increased during the Damages

 Period. As with General Purpose Credit Cards, merchants could not drop Visa’s Signature Debit

 or PIN Debit products despite these significant price increases.

                       (b)     Ability to raise Interchange Fees: Mastercard

        67.     Mastercard has also possessed and exercised substantial market power for

 decades, with such power increasing over time. By the 1990s, Mastercard General Purpose

 Credit Cards became the primary or only such cards for tens of millions of consumers in the

 United States. Accepting Mastercard General Purpose Credit Cards became a competitive

 necessity for the vast majority of merchants.

        68.     Like Visa, Mastercard has raised the Interchange Fees that merchants pay for

 accepting Mastercard General Purpose Credit Cards without losing merchant acceptance. Like

 Visa, Mastercard permitted Issuers to reclassify standard Mastercard General Purpose Credit




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 Cards as Premium Payment Cards and, in doing so, allowed those Issuers to unilaterally hike the

 Interchange Fees that merchants paid for transactions made with such cards.

        69.     Mastercard’s substantial market power was further evidenced by its ability to

 successfully charge merchants higher Interchange Fees than Visa charged, even though

 Mastercard had lower market shares. Throughout the Damages Period, Mastercard fixed

 Interchange Fees that were higher than Visa’s. If it did not have substantial individual market

 power over merchants, Mastercard could not have consistently and profitably maintained higher

 Interchange Fees than Visa.

                       (c)     Price discrimination

        70.     Visa’s and Mastercard’s ability to price discriminate also illustrates their market

 power. Both Visa and Mastercard establish separate Interchange Fees for each merchant

 category, for each of the networks’ card products (credit, Signature Debit, PIN Debit, and

 commercial), and for an individual merchant’s acceptance volume. Thus, two transactions

 conducted with the same Visa or Mastercard payment card could have vastly different

 Interchange Fee rates based upon the size or type of merchant that accepted the card. As the

 number of interchange categories has increased dramatically, Visa and Mastercard have captured

 ever-greater margins through increased opacity and complexity.

                       (d)     Setting supracompetitive prices unrelated to cost

        71.     The Interchange Fees set by Visa and Mastercard are not based on cost, as they

 would be in a competitive market. Rather than being tied to costs, the networks set Interchange

 Fees for each merchant segment based upon that segment’s elasticity of demand — i.e., the

 degree to which merchants in that segment “must take” their cards.




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        72.     In addition, since 2012, Visa has imposed on merchants and Payment Facilitators

 a fee called the Fixed Acquirer Network Fee (“FANF”). This fee is based on the number of

 locations a merchant has — in Square’s case, many thousands when each Seller is considered a

 “location.” The fee is highly complex, difficult to calculate, and unavoidable. Merchants and

 Payment Facilitators like Square must pay to participate in the Visa network and accept any Visa

 credit or debit cards. In 2017, Mastercard rolled out its version of this fee, called the Merchant

 Location Fee (“MLF”), which operates in a similar fashion. Like any other merchant, Square

 can avoid the FANF only by declining to accept any Visa products and can avoid the MLF only

 by declining to accept any Mastercard products. The FANF and MLF are structured such that

 they can be offset only by committing to route substantial transaction volumes over the more

 expensive Visa and Mastercard networks, respectively.

        73.     Square directly pays Visa the FANF. Over time, the FANF charged to Square by

 Visa has increased, illustrating Visa’s ability and willingness to abuse its monopoly power.

        74.     Square directly pays Mastercard the MLF. Over time, the MLF charged to Square

 by Mastercard has increased, illustrating Mastercard’s ability and willingness to abuse its

 monopoly power.

                        (e)    Enforcement of anticompetitive rules and policies

        75.     Visa’s and Mastercard’s successful enforcement of anticompetitive rules and

 policies that harmed merchants without losing merchant acceptance or transaction volume

 demonstrates the substantial market power that Visa and Mastercard had in the General Purpose

 Payment Card transactions markets.

        76.     Under the Honor All Cards rules, Square must accept all cards of either Visa or

 Mastercard’s brands, regardless of the Issuer or level of Interchange Fee that Square will pay.




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 Visa’s and Mastercard’s anti-steering rules also prevent any erosion of Visa’s and Mastercard’s

 market power.

          77.    Despite the adverse economic impact of these rules and policies on merchants,

 given Visa’s and Mastercard’s substantial market power, merchants could not afford to stop

 accepting Visa or Mastercard transactions. Square cannot drop Visa or Mastercard General

 Purpose Credit or Debit Cards without depriving Square Sellers of an unacceptable number of

 sales.

                 5.     The Visa and Mastercard IPOs were changes in corporate form that
                        maintained and enhanced the existing practices

          78.    The member banks that sat on the Visa and Mastercard boards and controlled

 them, approved Mastercard’s and Visa’s reorganizations into corporate entities that offered a

 portion of their shares to members of the public through IPOs. The member banks structured

 post-IPO Visa and Mastercard in ways that were designed to perpetuate, and not to disturb, the

 anticompetitive conduct detailed in this Complaint.

          79.    In response to a host of additional antitrust challenges, Visa and Mastercard, and

 their member banks, decided to change the organizational structures of Visa and Mastercard to

 attempt to evade antitrust liability through superficial changes in corporate form. The member

 banks agreed that post-IPO Visa and Mastercard would continue to support the agreements not to

 compete and to fix prices.

          80.    Post-IPO, Visa and Mastercard act as the pricing and rules enforcement agents for

 their member banks. Through the corporate reorganizations and subsequent IPOs, each member

 bank effectively delegated to Visa and Mastercard, in perpetuity, the ability to fix the bank’s

 pricing to merchants. Each member bank knew that all other Visa and Mastercard member




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 banks were also delegating their pricing decisions to Visa’s and Mastercard’s member banks

 when they voted to approve Visa’s and Mastercard’s restructurings.

        81.     Moreover, as part of the corporate reorganizations leading to their respective

 IPOs, the member banks reaffirmed and effectively readopted each network’s rules, including the

 default Interchange Fee and Honor All Cards rules.

        82.     Defendants’ conduct confirms that the IPOs did not terminate their price-fixing

 practices or reduce Visa’s and Mastercard’s market power. Post-IPO, Visa and Mastercard have

 exercised their substantial market power by imposing new network fees that merchants must pay,

 Visa’s and Mastercard’s Interchange Fees have remained at supracompetitive levels, and Visa

 has maintained its monopoly power in the General Purpose Debit Card transactions market.

        C.      Defendants’ Interchange Fee Practices Are Restraints of Trade Without
                Justification

        83.     General Purpose Payment Card systems have functioned successfully without

 Interchange Fees in the United States and internationally. Moreover, the Interchange Fees set by

 Defendants are not based on cost. Interchange Fees offer no procompetitive justification to

 offset the anticompetitive harm caused by the conduct detailed in this Complaint.

        84.     International experience regarding Interchange Fees on General Purpose Credit

 Card transactions shows that Interchange Fees in the United States have been fixed at

 supracompetitive levels. Regulations have been introduced to reduce Interchange Fees in

 various foreign countries. Prior to enactment of these regulations, Visa and Mastercard argued

 that such a reduction in Interchange Fees would cause a “death spiral” that would lead to a

 collapse of their networks and upheaval in the industry. In reality, no such “death spiral” or

 collapse occurred. To the contrary, Visa’s and Mastercard’s General Purpose Credit Card




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 volumes have increased in various foreign countries, including Australia and across the

 European Union.

        85.     In neither Australia nor the European Union do Visa and Mastercard enjoy the

 economies of scale and scope associated with the much larger General Purpose Payment Card

 transactions markets in the United States. Despite this, Visa’s and Mastercard’s General Purpose

 Credit Card Interchange Fees in the United States are higher than nearly every other General

 Purpose Credit Card Network outside the United States, including Visa’s and Mastercard’s own

 networks in other countries. As the costs associated with issuing Visa and Mastercard General

 Purpose Credit Cards have dramatically declined, Visa and Mastercard have raised their

 Interchange Fees, demonstrating market power.

                                      ANTITRUST INJURY

        86.     Square has suffered direct antitrust injury from Defendants’ conduct. Square has

 directly paid substantial, unlawful overcharges as a direct result of the price fixing and

 monopolization set out in this Complaint. Square also has been deprived of the benefits of

 competition limited by this conduct in the relevant markets.

        87.     The effect of these artificially inflated fees — assessed to and paid by Square —

 is higher retail prices paid by consumers economy-wide. As retail prices increase in response to

 inflated fees, consumers can afford less and thus purchase less, reducing output.

                                     RELEVANT MARKETS

        88.     Visa and Mastercard operate payment platforms. These are “two sided” platforms

 in that merchants want to accept the payment cards that cardholders carry and use, and

 cardholders want to carry and use payment cards that are widely accepted.

        89.     Payment platforms effectuate transactions to merchants from their customers

 through the use of credit or debit transactions, sometimes performed with a Payment Facilitator


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 such as Square. The Visa and Mastercard payment-card networks thus sell transactions to both

 “sides” of the market — Payment Facilitators/merchants, on the one hand, and consumers on the

 other. As stated by the Supreme Court, “credit-card companies are best understood as supplying

 only one product — transactions — which is jointly consumed by a cardholder and a merchant.”

         90.     There are two “transactions” product markets in which Defendants participate:

 (i) the market for General Purpose Credit Card transactions in the United States (i.e., the credit

 card market); and (ii) the market for General Purpose Debit Card transactions in the United

 States (i.e., the debit card market).

         91.     In the case of transaction networks, where the relevant good is the payment card

 transaction itself (such as the markets for General Purpose Payment Card transactions),

 economic literature indicates that competitive effects on both sides of the market should be taken

 into consideration. As set forth herein, Visa, Mastercard, and their respective network banks

 possess market power and their conduct has negative competitive effects for: (i) all entities

 paying Interchange Fees and other network fees (be they merchants or Payment Facilitators),

 (ii) businesses regardless of whether they use a Payment Facilitator, and (iii) consumers. All of

 these negative effects occur in the two-sided, transactions markets defined above.

         92.     The markets for General Purpose Credit Card transactions and General Purpose

 Debit Card transactions are distinct. Consumer demand establishes separate General Purpose

 Credit Card and General Purpose Debit Card markets. There are, accordingly, corresponding

 markets for General Purpose Credit Card transactions and General Purpose Debit Card

 transactions. These markets capture both sides of the two-sided “transaction platform” of the

 networks’ payment platforms. Visa and Mastercard have exercised market power within these

 markets.




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        A.      The Markets for General Purpose Credit Card Transactions and General
                Purpose Debit Card Transactions Are Distinct

                1.      General Purpose Credit Card transactions

        93.     There have been relevant product markets for General Purpose Credit Cards and

 General Purpose Credit Card transactions throughout the Damages Period. Certain

 characteristics of credit cards make them unique. General Purpose Credit Cards allow a

 consumer to purchase goods and services by accessing a line of credit extended to the cardholder

 by the Issuer that issued the card. These cards provide consumers deferred payment and,

 typically, the opportunity to revolve balances over time.

        94.     From the consumer perspective, there are no close substitutes for General Purpose

 Credit Cards because other forms of payment do not offer comparable credit facilities.

 Therefore, General Purpose Credit Cards are better suited for large purchases that a consumer

 needs to finance over time than are payment methods such as cash, checks, and General Purpose

 Debit Cards that do not allow deferred payment. This feature is reflected in studies of consumer

 payment patterns, which show that the average transaction size for General Purpose Credit Card

 transactions consistently has significantly exceeded the average ticket for General Purpose Debit

 Card transactions since the mid-1990s.

        95.     General Purpose Credit Cards have a unique bundle of characteristics that

 consumers find useful for certain types of transactions, and for which other payment methods are

 not close substitutes. A market-wide increase in cardholder fees would not cause sufficient

 decline in usage for the price increase to be unprofitable to Issuers; demand is sufficiently

 inelastic to establish a market for General Purpose Credit Cards. This has been the case

 throughout the Damages Period.




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        96.     The absence of sensitivity of General Purpose Credit Card Interchange Fees to

 Interchange Fees for General Purpose Debit Cards is strong economic evidence that General

 Purpose Credit Cards and Debit Cards are not in the same relevant market.

        97.     Visa and Mastercard have continued to raise General Purpose Credit Card

 Interchange Fees, including significant rate increases for Premium Payment Card transactions,

 and no major merchants have stopped accepting Visa and Mastercard General Purpose Credit

 Card transactions. Merchants continue to believe that a sufficient number of consumers view

 General Purpose Credit Cards as unique and that merchants must accept them. General Purpose

 Credit Card transactions is a well-defined market characterized by an inelasticity of demand and

 universal recognition by the public, the parties, and the industry as a whole.

                2.      General Purpose Debit Card transactions

        98.     There have been relevant product markets for General Purpose Debit Cards and

 General Purpose Debit Card transactions throughout the Damages Period. These markets

 consisted of both Signature Debit Cards and PIN Debit Cards. The existence of these markets

 has been confirmed by economic analysis of cross-inelasticity of demand, by industry and public

 recognition, and by recent judicial decisions in cases related to the claims asserted in this

 Complaint. These markets continue to be relevant product markets to this day.

        99.     General Purpose Debit Cards permit consumers to purchase goods and services by

 directly accessing the consumer’s asset account, usually a DDA or checking account. General

 Purpose Debit Cards include stored-value cards, such as payroll cards and flexible spending

 account cards, where funds are pre-loaded into an account associated with the card and the

 cardholder can only spend up to the amount pre-loaded on the card.




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        100.    Both PIN Debit Cards and Signature Debit Cards offer basically the same

 functionality to consumers — a means of payment that is widely accepted and provides for a

 quick and automatic transfer of funds from the cardholder’s asset account to the merchant’s

 account. While the signature and PIN methods of authentication differentiate the products,

 consumers tend to view them as close substitutes. Merchants’ ability to steer cardholders from

 Signature Debit Cards to PIN Debit Cards confirms this fact.

        101.    General Purpose Debit Cards possess a combination of characteristics that make

 them particularly well-suited for certain types of transactions. Because payments are deducted in

 a matter of hours (or a few days at most) from a consumer’s account, General Purpose Debit

 Cards are differentiated from General Purpose Credit Cards. Consumers do not consider General

 Purpose Credit Cards to be an adequate substitute for General Purpose Debit Cards. Consumers

 tend to use General Purpose Debit Cards for everyday and small purchases. Many consumers

 segment their purchases and prefer to put these everyday purchases on their General Purpose

 Debit Cards and use their General Purpose Credit Cards for larger-ticket items that are not

 consumed on a monthly basis.

        102.    Consumers view General Purpose Debit Cards as superior to cash and checks and,

 thus, they likely would not switch to cash and checks in response to a small but significant, non-

 transitory price increase. Cash and checks also are not reasonably interchangeable with General

 Purpose Debit Card transactions for merchants. As the price of PIN Debit Card acceptance

 increased to the supracompetitive levels of today, merchants did not substitute away from debit.

        B.      The Geographic Market Is the United States

        103.    The geographic market for all relevant product markets has been the United States

 and its territories throughout the Damages Period. Many of Visa’s and Mastercard’s rules




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 regarding General Purpose Credit Card and General Purpose Debit Card transactions apply only

 to the U.S. market. Visa and Mastercard also set policies and pricing — including Interchange

 Fees — separately for the United States from other regions. Additionally, U.S. consumers would

 not find General Purpose Credit Cards or General Purpose Debit Cards issued in other countries

 to be adequate substitutes for General Purpose Credit Cards or General Purpose Debit Cards

 issued by U.S. banks.

        C.       Defendants’ Conduct Has Had Adverse Competitive Effects In Any Relevant
                 Market

        104.     Visa and Mastercard exercise substantial market power in the market for General

 Purpose Credit Card transactions. Visa and Mastercard collectively account for over 70% of

 transaction volume for General Purpose Credit Cards in the United States. Combined with the

 significant entry barriers facing potential new, competing payment networks, this cardholder

 penetration gives Visa and Mastercard power to control prices or exclude competition across

 their credit card payment platforms. Visa and Mastercard’s ability to raise Interchange Fees

 without losing transaction volume in General Purpose Credit Cards is direct evidence of their

 market power.

        105.     Visa also exercises monopoly power in the market for General Purpose Debit

 Cards and services, including under a platform-wide market definition encompassing both

 merchants and consumers. Visa has demonstrated its ability to control prices or output by

 profitably raising interchange fees net of any cardholder rewards for its debit products. This

 ability to raise Interchange Fees net of any cardholder rewards without losing merchant

 acceptance or transaction volume is directly probative of its monopoly power across the General

 Purpose Debit Card payment platform.




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          106.   Defendants’ price fixing and Visa’s monopolization have reduced total output by

 raising net prices to Visa and Mastercard customers and by resulting in products of decreased

 quality. Visa and Mastercard’s market power have allowed them to impose supracompetitive

 Interchange Fees on merchants. These inflated fees have forced merchants to raise retail prices

 above what they would charge if competition existed in the payment services industry. The net

 result is fewer sales for merchants and higher costs to consumers

          107.   This reduced cardholder purchasing power, in turn, reduces total output — i.e.,

 the quantity of credit and debit card purchases (and total purchases) — below the competitive

 level.

          108.   Visa and Mastercard cardholders would enjoy equal or greater cardholder rewards

 absent Defendants’ price fixing and Visa’s monopolization. High Interchange Fees are not

 necessary to fund competitive cardholder reward programs. Given the miniscule cost of

 transaction processing today, Issuers pocket most of the interchange revenue as increased profits

 rather than distributing it in the form of rewards.

                                      CLAIMS FOR RELIEF

          Count 1: Against Visa for Horizontal Price Fixing and Horizontal Agreements Not
          to Compete in the Market for General Purpose Credit Card Transactions (Sherman
          Act Section 1)

          109.   Block incorporates by reference each and every allegation contained in the

 foregoing paragraphs.

          110.   Visa and its member banks’ agreement not to compete and to fix prices constitute

 anticompetitive horizontal restraints.

          111.   Visa and its member banks have maintained the conspiracy for Visa General

 Purpose Credit Card transactions throughout the Damages Period.




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         112.    This conspiracy anticompetitively increased, and maintained, the Interchange

 Fees that Square paid to Issuers for Visa General Purpose Credit Card transactions, and it

 imposed additional damages in the form of network fees, fines, and fraud losses. These price

 increases were the products of the agreement among Visa and its owner/member banks that the

 banks will not compete for merchants’ acceptance of Visa transactions.

         113.    The price-fixing conspiracy and agreement not to compete are per se unlawful

 under Section 1 of the Sherman Act. But even if analyzed under a quick look or rule of reason,

 this conspiracy and agreement not to compete are unreasonable restraints of trade in violation of

 Section 1. This scheme served no legitimate business purpose, and achieved no legitimate

 efficiency benefit to offset its substantial anticompetitive effects.

         114.    Square suffered antitrust injury from these per se unlawful and/or unreasonable

 restraints of trade.

         115.    As a direct and proximate result of these violations of Section 1 of the Sherman

 Act throughout the Damages Period, Square has been injured in its business and property in an

 amount to be determined at trial.

         Count 2: Against Visa for Horizontal Price Fixing and Horizontal Agreements Not
         to Compete in the Market for General Purpose Debit Card Transactions (Sherman
         Act Section 1)

         116.    Block incorporates by reference each and every allegation contained in the

 foregoing paragraphs.

         117.    Visa and its member banks’ agreement not to compete and to fix prices constitute

 anticompetitive horizontal restraints.

         118.    Visa and its member banks have maintained the conspiracy for Visa General

 Purpose Debit Card transactions throughout the Damages Period.




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         119.    This conspiracy anticompetitively increased, and maintained, the Interchange

 Fees that Square paid to Issuers for Visa General Purpose Debit Card transactions, and it

 imposed additional damages in the form of network fees, fines, and fraud losses. These price

 increases were the products of the agreement among Visa and its owner/member banks that the

 banks will not compete for merchants’ acceptance of Visa transactions.

         120.    The price-fixing conspiracy and agreement not to compete are per se unlawful

 under Section 1 of the Sherman Act. Even if analyzed under a quick look or rule of reason, this

 conspiracy and agreement not to compete are unreasonable restraints of trade in violation of

 Section 1. This scheme served no legitimate business purpose, and achieved no legitimate

 efficiency benefit to offset its substantial anticompetitive effects.

         121.    Square suffered antitrust injury from these per se unlawful and/or unreasonable

 restraints of trade.

         122.    As a direct and proximate result of these violations of Section 1 of the Sherman

 Act throughout the Damages Period, Square has been injured in its business and property in an

 amount to be determined at trial.

         Count 3: Against Mastercard for Horizontal Price-Fixing and Horizontal
         Agreements Not to Compete in the Market for General Purpose Credit Card
         Transactions (Sherman Act Section 1)

         123.    Block incorporates by reference each and every allegation contained in the

 foregoing paragraphs.

         124.    Mastercard and its member banks’ agreement not to compete and to fix prices

 constituted anticompetitive horizontal restraints.

         125.    Mastercard and its member banks have maintained the conspiracy for Mastercard

 General Purpose Credit Card transactions throughout the Damages Period.




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         126.    This conspiracy anticompetitively increased, and maintained, the Interchange

 Fees that Square paid to Issuers for Mastercard General Purpose Credit Card transactions, and it

 imposed additional damages in the form of network fees, fines, and fraud losses. These price

 increases were the products of the agreement among Mastercard and its owner/member banks

 that the banks will not compete for merchants’ acceptance of Mastercard transactions.

         127.    The price-fixing conspiracy and agreement not to compete are per se unlawful

 under Section 1 of the Sherman Act. Even if analyzed under a quick look or rule of reason, this

 conspiracy and agreement not to compete are unreasonable restraints of trade in violation of

 Section 1. This scheme served no legitimate business purpose, and achieved no legitimate

 efficiency benefit to offset its substantial anticompetitive effects.

         128.    Square suffered antitrust injury from these per se unlawful and/or unreasonable

 restraints of trade.

         129.    As a direct and proximate result of these violations of Section 1 of the Sherman

 Act throughout the Damages Period, Square has been injured in its business and property in an

 amount to be determined at trial.

         Count 4: Against Mastercard for Horizontal Price-Fixing and Horizontal
         Agreements Not to Compete in the Market for General Purpose Debit Card
         Transactions (Sherman Act Section 1)

         130.    Block incorporates by reference each and every allegation contained in the

 foregoing paragraphs.

         131.    Mastercard and its member banks’ agreement not to compete and to fix prices

 constituted anticompetitive horizontal restraints.

         132.    Mastercard and its member banks have maintained the conspiracy for Mastercard

 General Purpose Debit Card transactions throughout the Damages Period.




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         133.    This conspiracy anticompetitively increased, and maintained, the Interchange

 Fees that Square paid to Issuers for Mastercard General Purpose Debit Card transactions, and it

 imposed additional damages in the form of network fees, fines, and fraud losses. These price

 increases were the products of the agreement among Mastercard and its owner/member banks

 that the banks will not compete for merchants’ acceptance of Mastercard transactions.

         134.    The price-fixing conspiracy and agreement not to compete are per se unlawful

 under Section 1 of the Sherman Act. Even if analyzed under a quick look or rule of reason, this

 conspiracy and agreement not to compete are unreasonable restraints of trade in violation of

 Section 1. This scheme served no legitimate business purpose, and achieved no legitimate

 efficiency benefit to offset its substantial anticompetitive effects.

         135.    Square suffered antitrust injury from these per se unlawful and/or unreasonable

 restraints of trade.

         136.    As a direct and proximate result of these violations of Section 1 of the Sherman

 Act throughout the Damages Period, Square has been injured in its business and property in an

 amount to be determined at trial.

         Count 5: Against Visa for Vertical Price Restraints in the Market for General
         Purpose Credit Card Transactions (Sherman Act Section 1)

         137.    Block incorporates by reference each and every allegation contained in the

 foregoing paragraphs.

         138.    Visa and its member banks’ price-fixing schemes constituted unreasonable and

 anticompetitive vertical restraints.

         139.    Visa entered into an express vertical agreement with each of the member banks

 binding all of them to comply with the rules and regulations adopted by Visa, including the

 default Interchange Fee and Honor All Cards rules. In turn, Visa acted as the enforcement agent



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 for its rules and regulations and held Issuing and Acquiring members responsible for compliance

 with these rules and regulations. These agreements have continued in full effect throughout the

 Damages Period.

        140.    These vertical price restraints imposed supracompetitive Interchange Fees on

 Square for Visa General Purpose Credit Card transactions, and it imposed additional damages in

 the form of network fees, fines, and fraud losses. These restraints have continued in full effect

 throughout the Damages Period and constituted unreasonable restraints of trade in violation of

 Section 1 of the Sherman Act. This scheme served no legitimate business purpose, and achieved

 no legitimate efficiency benefit to offset its substantial anticompetitive effects.

        141.    Square suffered antitrust injury from these unreasonable restraints of trade.

        142.    As a direct and proximate result of this violation of Section 1 of the Sherman Act,

 Square was injured in its business and property in an amount to be determined at trial.

        Count 6: Against Visa for Vertical Price Restraints in the Market for General
        Purpose Debit Card Transactions (Sherman Act Section 1)

        143.    Block incorporates by reference each and every allegation contained in the

 foregoing paragraphs.

        144.    Visa and its member banks’ price-fixing schemes constituted unreasonable and

 anticompetitive vertical restraints.

        145.    Visa entered into an express vertical agreement with each of the member banks

 binding all of them to comply with the rules and regulations adopted by Visa, including the

 default Interchange Fee and Honor All Cards rules. In turn, Visa acted as the enforcement agent

 for its rules and regulations and held Issuing and Acquiring members responsible for compliance

 with these rules and regulations. These agreements have continued in full effect throughout the

 Damages Period.



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            146.   These vertical price restraints imposed supracompetitive Interchange Fees on

 Square and other merchants for Visa General Purpose Debit Card transactions, and it imposed

 additional damages in the form of network fees, fines, and fraud losses. These restraints have

 continued in full effect throughout the Damages Period and constituted unreasonable restraints of

 trade in violation of Section 1 of the Sherman Act. This scheme served no legitimate business

 purpose, and achieved no legitimate efficiency benefit to offset its substantial anticompetitive

 effects.

            147.   Square suffered antitrust injury from these unreasonable restraints of trade.

            148.   As a direct and proximate result of this violation of Section 1 of the Sherman Act,

 Square was injured in its business and property in an amount to be determined at trial.

            Count 7: Against Mastercard for Vertical Price Restraints in the Market for
            General Purpose Credit Card Transactions (Sherman Act Section 1)

            149.   Block incorporates by reference each and every allegation contained in the

 foregoing paragraphs.

            150.   Mastercard and its member banks’ price-fixing schemes constituted unreasonable

 and anticompetitive vertical restraints.

            151.   Mastercard entered into an express vertical agreement with each of the member

 banks binding all of them to comply with the rules and regulations adopted by Mastercard,

 including the default Interchange Fee and Honor All Cards rules. In turn, Mastercard acted as

 the enforcement agent for its rules and regulations and held Issuing and Acquiring members

 responsible for compliance with these rules and regulations. These agreements have continued

 in full effect throughout the Damages Period.

            152.   These vertical price restraints imposed supracompetitive Interchange Fees on

 Square for Mastercard General Purpose Credit Card transactions, and it imposed additional



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 damages in the form of network fees, fines, and fraud losses. These restraints have continued in

 full effect throughout the Damages Period and constituted unreasonable restraints of trade in

 violation of Section 1 of the Sherman Act. This scheme served no legitimate business purpose,

 and achieved no legitimate efficiency benefit to offset its substantial anticompetitive effects.

        153.    Square suffered antitrust injury from these unreasonable restraints of trade.

        154.    As a direct and proximate result of this violation of Section 1 of the Sherman Act,

 Square was injured in its business and property in an amount to be determined at trial.

        Count 8: Against Mastercard for Vertical Price Restraints in the Market for
        General Purpose Debit Card Transactions (Sherman Act Section 1)

        155.    Block incorporates by reference each and every allegation contained in the

 foregoing paragraphs.

        156.    Mastercard and its member banks’ price-fixing schemes constituted unreasonable

 and anticompetitive vertical restraints.

        157.    Mastercard entered into an express vertical agreement with each of the member

 banks binding all of them to comply with the rules and regulations adopted by Mastercard,

 including the default Interchange Fee and Honor All Cards rules. In turn, Mastercard acted as

 the enforcement agent for its rules and regulations and held Issuing and Acquiring members

 responsible for compliance with these rules and regulations. These agreements have continued

 in full effect throughout the Damages Period.

        158.    These vertical price restraints imposed supracompetitive Interchange Fees on

 Square for Mastercard General Purpose Debit Card transactions, and it imposed additional

 damages in the form of network fees, fines, and fraud losses. These restraints have continued in

 full effect throughout the Damages Period and constituted unreasonable restraints of trade in




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 violation of Section 1 of the Sherman Act. This scheme served no legitimate business purpose,

 and achieved no legitimate efficiency benefit to offset its substantial anticompetitive effects.

        159.    Square suffered antitrust injury from these unreasonable restraints of trade.

        160.    As a direct and proximate result of this violation of Section 1 of the Sherman Act,

 Square was injured in its business and property in an amount to be determined at trial.

                                      PRAYER FOR RELIEF

        WHEREFORE, Square prays for a judgment in its favor and against Defendants and for

 the following relief:

        A.      That the Court declare, adjudge and decree that Defendants have committed the

                violations of the laws alleged herein;

        B.      That the Court award damages sustained by Square because of Defendants’

                misconduct, in an amount to be proved at trial, to be trebled in accordance with

                antitrust law, plus interest, including prejudgment interest, attorneys’ fees and

                costs of suit;

        C.      That the Court award restitutionary damages to Square;

        D.      That the Court enjoin Visa’s FANF;

        E.      That the Court enjoin Mastercard’s MLF; and

        F.      That the Court order such other and further relief as the Court may deem just and

                proper.

                                          JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38(b), Square hereby demands a trial

 by jury of all issues properly triable thereby.



  Dated: July 14, 2023


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